
20 N.Y.2d 881 (1967)
In the Matter of the Claim of Barbara A. Mansfield, Respondent,
v.
General Adjustment Bureau et al., Appellants. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Argued October 25, 1967.
Decided November 2, 1967.
Kenneth K. Floyd and Philip J. Caputo for appellants.
Louis J. Lefkowitz, Attorney-General (Henriette Frieder, Ruth Kessler Toch and Daniel Polansky of counsel), for Workmen's Compensation Board, respondent.
Concur: Chief Judge FULD and Judges BURKE, BERGAN, KEATING and BREITEL. Judge VAN VOORHIS dissents and votes to reverse and to dismiss the claim in the following memorandum in which Judge SCILEPPI concurs.
*882Order affirmed, with costs to respondent Workmen's Compensation Board. (See, e.g., Matter of Graves v. Tide Water Oil Sales Co., 275 N.Y. 583, affg. 249 App. Div. 911; Matter of Lowery v. Riss &amp; Co., 10 A D 2d 489, mot. for lv. to app. den. 8 N Y 2d 707.)
VAN VOORHIS, J. (dissenting).
Assuming, for argument, that attending a dinner given by fellow employees and not by the employer brought the decedent within the scope of his employment, which is an assumption not free from doubt, it seems plain to me that at the time of the accident the dinner was long since finished, and that the accident resulted from personal activity on decedent's part and did not arise out of or in the course of his employment. The dinner was completed by 11:00 P.M., but decedent remained at the tavern until nearly 4:00 A.M. when the fatal accident occurred. This personal activity on his part materially added to the risk and, in my judgment, constituted a deviation from the course of his employment if his attendance at the dinner could be regarded as having been work connected in the beginning. The order of the Appellate Division should be reversed and the claim dismissed.
Order affirmed.
